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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK



ILYA MELNICHENKO, OLGA MILINTENKOVA, and
EVEGENY TARASOV                                               Civil Action No.

                     Plaintiff(s),

        - against-
                                                                  COMPLAINT
MR. MART USA, LLC, PALMETTO GAS COMPANY,                             AND
LLC., PALMETTO 511, LLC., FOREST HILLS GAS                   DEMAND FOR JURY TRIAL
COMPANY #502, LLC., FRANK GUTTA, ALI JAFERI,
and ABBAS M. JAFERI

                     Defendant(s).



       Plaintiffs, ILYA MELNICHENKO (hereinafter referred to as “Ilya”), OLGA

MILINTENKOVA (hereinafter referred to as “Olga”), and EVEGENY TARASON (hereinafter

referred to as “Evegeny”) (collectively referred to as “Plaintiffs”), by and through undersigned

counsel, alleges upon information and belief the following against Defendants, MR. MART

USA, LLC (hereinafter referred to as “Mr. Mart”), PALMETTO GAS COMPANY, LLC.,

(hereinafter referred to as “PGC”), PALMETTO 511, LLC., (hereinafter referred to as the

“Palmetto Project”), FORESTS HILLS GAS COMPANY #502, LLC., (hereinafter referred to as

the “ Forest Hills Project”), FRANK GUTTA (hereinafter referred to as “Gutta”), ALI M.

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JAFERI (hereinafter referred to as “Ali”) and ABBAS M. JAFERI (hereinafter referred to as

“Abbas”).

                                NATURE OF THE ACTION

   1. Plaintiffs are the victims of an orchestrated fraud, in which Defendants preyed on foreign

      nationals desirous of leaving foreign countries, such as Russia and Kazakhstan, to

      provide their families with the opportunity for a better life in the United States through

      the EB-5 program.

   2. In May 2013, Defendants Frank Gutta, and Alli Jaferi solicited Plaintiffs to each invest

      $500,000, plus a $45,000 “administrative fee,” through the EB-5 immigrant investor

      program, into purported real estate projects in Florida, known as the “Forest Hills Gas

      Company #502, LLC” and “Palmetto 511, LLC”.

   3. Pursuant to the agreement between the parties, Plaintiffs funds were to be returned in full

      in the event that their I-526 petitions were denied.

   4. In a typical EB-5 project, investor funds are raised and used to complete a specific project

      described in the project’s private placement memorandum or offering documents. Once

      the individual has invested, he or she may apply for a conditional green card, which is

      valid for two years. If the investment creates or preserves at least ten jobs during those

      two years, the investor may apply to have the condition removed from his or her green

      card, and the investor may then live and work in the U.S. permanently.

   5. Frank Gutta and Ali Jaferi were involved in funding, through the EB-5 program multiple

      projects, including the Palmetto Project and the Forest Hills Project, which involved the

      expansions of existing gas stations and convenience stores in Florida.

   6. Defendants made multiple representations in the offering documents regarding Mr. Mart



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   and the Projects. Investors in the EB-5 Projects were told they were investing in project

   specific expansions of existing gas stations. While some of the funds were used for those

   projects, the majority of the funds were commingled, misused and diverted to pay for

   unauthorized projects and personal luxuries.

7. Subsequently Plaintiff’s I-526 petitions were denied.

8. As a result of said denials, Plaintiffs relied on the return of their investment capital and

   demanded refunds beginning in December of 2015. From December of 2015 up to and

   including June 2016 Defendants provided assurances to Plaintiffs that refunds would be

   issued. Refunds were never issued.

9. Instead, after receiving Defendants’ demand for a refund, Defendants shut down the

   operations of the Forest Hills Project and the Palmetto Project and declared Bankruptcy.

10. Defendants failed to notify Plaintiffs that they have declared Bankruptcy, instead lulling

   them into a false sense of security by stating that additional appeals of the I-526

   application process were in place, that the country’s foremost immigration attorney had

   been hired to prosecute the appeals, and that all was well with the Project, thereby further

   lulling Plaintiffs and falsely allowing Defendants to deny any rights to reimbursement. In

   truth, of course, the money was gone, Defendants filed for bankruptcy, no jobs were

   created, the federal government had closed the appeals, the I-526 immigrant petitions

   were never issued, and the list of lies is virtually endless.

11. The representations made to induce Plaintiffs’ investments into the Project were mostly

   lies, calculated to induce investments by needy, trusting, unsuspecting foreigners with

   $500,000 seeking the opportunity to pursue a life with more opportunities than those

   afforded to them in Russia and Kazakhstan.



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12. The 100% guaranty that the investment would be returned in the event of the denial of the

   petition was not worth the paper it was printed on. Plaintiffs’ I-526 petitions were all

   denied, yet their funds were never returned.

13. Defendants made representations to Plaintiffs all along that the Projects were viable and

   that they “should have been approved.” Plaintiffs advised Defendants that they would

   agree to have their money in the Project and that an updated application with the USCIS

   should be filed if in fact the Project met EB-5 requirements. Plaintiffs subsequently

   learned that the Project does not meet nor did it ever meet EB-5 requirements, and

   therefore a refiling of an updated application would have been fruitless. Defendants

   knew, or should have known that the Project did not ever meet EB-5 requirements.

14. Accordingly, Plaintiffs are now unable to leave Russia and have lost virtually their entire

   lifesavings.

15. Plaintiffs come to this Court, with clean hands, seeking assistance in their pursuit for

   redress, justice, and the cessation of Defendants’ continued use of their stolen funds



                                 THE PARTIES

A. Plaintiffs

16. Plaintiff ILYA MELNICHENKO (“Ilya”) is a Kazakh citizen who invested over

   $500,000 in one of the EB-5 Projects (Forest Hills Gas Company #502, LLC., discussed

   infra), and has been damaged by Defendants’ conduct alleged herein.

17. Plaintiff OLGA MILITENKOVA (“Olga”) is a Russian citizen who invested over

   $500,000 in one of the EB-5 Projects (Palmetto 511, LLC., discussed infra), and has been

   damaged by Defendants’ conduct alleged herein.



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18. Plaintiff EVEGENY TARASOV (“Evegeny”) is a Russian citizen who invested over

   $500,000 in one of the EB-5 Projects (Palmetto 511, LLC., discussed infra), and has been

   damaged by Defendants’ conduct alleged herein.

B. Defendants

19. Defendant Mr. Mart USA, LLC is a Florida limited liability organization, with its

   principal place of business at 7280 West Palmetto Park Road, Suite 203, Boca Raton,

   Florida. Frank Gutta is the Chief Executive Officer of Mr. Mart, which owns 100% of

   Palmetto Gas Company, LLC. Palmetto Gas Company LLC., owns 100% of Palmetto

   511, LLC, and Forest Hills Gas Company #502, LLC.

20. Defendant Forest Hills Gas Company #502, LLC is a Florida limited liability

   organization, with its principal place of business located at 7280 West Palmetto Park

   Road, Suite 203, Boca Raton, Florida. Forest Hills Gas Company #502, LLC is wholly

   owned by Palmetto 511, LLC.

21. Defendant Palmetto 511, LLC is a Florida limited liability organization, with its

   principal place of business located at 7280 West Palmetto Park Road, Suite 203, Boca

   Raton, Florida. Palmetto 511, LLC., is wholly owned by Palmetto Gas Company, LLC.

22. Defendant Palmetto Gas Company, LLC., is a Florida limited liability organization, with

   its principal place of business located at 7280 West Palmetto Park Road, Suite 203, Boca

   Raton, Florida. Palmetto Gas Company, LLC., wholly owned and managed each of the

   EB-5 Projects at issue in this litigation.

23. Defendant Frank Gutta is an individual who resides in Broward County, Florida at 100

   Nighthawk Avenue, Plantation, Florida 33324. Gutta is the owner, officer and director of

   the holding company that controls the Projects, Mr. Mart, USA. Gutta effectively



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   controlled each of the EB-5 Projects at issue in this litigation.

24. Defendant Abbas M. Jaferi is an individual who, upon information and belief, resides in

   Palm Beach County, at 17828 Scarsdale Way, Boca Raton, Florida 33496. At all times

   material, Abbas acted as a member and/or manager of the Projects. Abbas Jaferi is an

   officer, director and Managing Member of the Projects. Abbas effectively controlled each

   of the EB-5 Projects at issue in this litigation.

25. Defendant Ali M. Jaferi is an individual who, upon information and belief, resides in

   Palm Beach County, at 17828 Scarsdale Way, Boca Raton, Florida 33496. At all times

   material, Ali acted as a member and/or manager of the Projects. Ali is the Chief

   Operating Officer of Mr. Mart, and the Projects. Ali effectively controlled each of the

   EB-5 Projects at issue in this litigation.

                           JURISDICTION AND VENUE


26. This Court has personal jurisdiction over Defendants because a substantial portion of

   Defendants’ acts giving rise to the claims alleged herein were performed in this district.

   Specifically each Defendant transacted business in New York, including the solicitation

   of the EB-5 Investments, negotiations of the Contracts involved herein and some of the

   acts that give rise to Plaintiff’s claims.

27. This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

   §1332.

28. Venue is proper in this forum pursuant to 28 U.S.C. §1391 because a substantial part of

   the acts, transactions, and events giving rise to the claims occurred, in New York, New

   York.




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                         SUBSTANTIVE ALLEGATIONS


EB-5 Visa Program in General


29. The Immigrant Investor Program, more commonly known as the EB-5 program, was

   created by the Immigration Act of 1990. Congress established the EB-5 program to

   stimulate the U.S. economy by giving immigrant investors the opportunity to

   permanently live and work in the United States after they have invested in a new

   commercial enterprise (‘‘NCE”).

30. In the case of an NCE that is located in a Targeted Employment Area (“TEA”), i.e., either

   a rural area or an area beset by high unemployment, the required equity investment need

   only be $500,000.

31. In 1993, Congress created the Immigrant Investor Pilot Program to increase interest in the

   EB-5 visa program. This new pilot program established EB-5 Regional Centers

   (“Regional Centers”), which are entities that receive special designation from the United

   States Citizenship and Immigration Services (“USCIS”) to administer EB-5 investments

   and create jobs. Public and private entities may apply to the USCIS for approval as an

   EB-5 Regional Center.

32. EB-5 visa programs administered by a Regional Center provide more flexibility, because

   the immigrant investor who invests in such a program is permitted to take credit not only

   for direct jobs created in the NCE but also “indirect jobs” created outside the NCE in a

   job creating enterprise (“JCE”), such as a construction contracting firm that builds an

   improvement for the NCE. In addition, the immigrant investor need not handle the day-

   to-day management of the NCE or even necessarily live in the region where the NCE is



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   located.

33. By necessity, investments into an EB-5 program are “closed-ended,” available only to a

   specified number of investors, and that number is tied to the number of direct or indirect

   jobs created by the investment. If too few jobs are created with the money invested, the

   immigrant will not be able to become a permanent resident in the United States.

EB-5 Practice and Procedure

34. Under the EB-5 program, the immigrant investor first applies for an immigrant visa by

   submitting a Form I-526, Immigrant Petition for Alien Entrepreneur. USCIS’ approval of

   the Form I-526 is conditioned upon the immigrant’s investment of the requisite amount

   of money in an NCE that satisfies the applicable legal requirements.

35. The Immigration and Nationality Act (“INA”), specifically Section 203(b)(5)(A),

   provides classification to qualified immigrants seeking to enter the United States for the

   purpose of engaging in a new commercial enterprise (“NCE”):

           (i)    in which such alien has invested (after the date of enactment of the

                  Immigration Act of 1990) or, is actively in the process of investing, capital

                  in an amount not less than the amount specified in subparagraph (C)1, and

           (ii)   which will benefit the United States economy and create full-time

                  employment for not fewer than 10 United States citizens or aliens lawfully

                  admitted for permanent residence or other immigrants lawfully authorized

                  to be employed in the United States (other than the immigrant and the

                  immigrant’s spouse, sons or daughters).

36. Upon approval of the Form I- 526 petition, the immigrant investor may either: (1) file the

   appropriate form to adjust their status to a conditional permanent resident within the



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   United States; or (2) file an application to obtain an EB-5 visa for admission to the United

   States.

37. Upon the approval of the application or upon entry into the United States with an EB-5

   immigrant visa, the EB-5 investor and derivative family members will be granted

   conditional permanent residence for a two-year period.

38. To remove the conditional resident status, the immigrant investor must file a Form I-829,

   Petition by Entrepreneur to Remove Conditions, ninety days before the two-year

   anniversary of the granting of the EB-5 investor’s conditional resident status. USCIS’

   approval of the Form I-829 is conditioned upon proof that the immigrant investor’s

   investment has created at least ten full-time jobs in the NCE or JCE. If an insufficient

   number of jobs was created, the foreign national is subject to removal from the United

   States.

EB-5 Program at it pertains to the Projects

39. Beginning in or around May of 2013, Mr. Mart through its Attorney Mona Shah, Esq.,

   whose office is located in New York, New York, solicited Plaintiffs regarding the EB-5

   program through investments in the Projects.

40. Mr. Mart and the Projects at the heart of this litigation were at all times operated and

   controlled by Gutta, Ali and Abbas.

41. Mr. Mart held itself out as an EB-5 Direct Investment Approved Project, and claimed to

   specialize in investment-based immigration services.

42. As part of the management’s solicitations, Plaintiffs were provided with four (4)

   documents:

             (a) Business Plan (the “Plan”).



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           (b) Subscription Agreement (the “Agreement”).

           (c) Investment Memorandum (the “Memorandum”).

           (d) Escrow Agreement (the “Escrow Agreement”).

           Collectively, the Plan, the Agreement, the Memorandum, and the Escrow

   Agreement will be referred to as the “Offering Documents.”

43. The representations in the Offering Documents were originally made by Gutta, Ali and

   Abbas on behalf of their companies, Mr. Mart, PGC and the Projects.

44. Defendants represented to Plaintiffs that Mr. Mart is an existing entity and “owns a group

   of Chevron Gas stations located in South Florida”.

45. The Forest Hills Project and the Palmetto Project are wholly owned by PGC, an existing

   Florida limited liability company and PGC is wholly owned by Mr. Mart. PGC will serve

   as the Manager for the Forest Hills Project and the Palmetto Project.

46. Each unit in the Project required a minimum investment of $500,000, plus an

   administrative fee of $45,000.

47. If an investor’s I-526 application was denied by USCIS, the investor was promised that

   they would receive their money back upon receipt of the official denial notice.

48. Armed with the Offering Documents, the USCIS Approval, presentations, and whatever

   oral representations they deemed necessary for a sale, Defendants sold the fraud that is

   the Project.

49. Defendants knowingly preyed on the trust reposed in them by Plaintiffs to drive Plaintiffs

   into the Project.

Plaintiffs are Fraudulently Induced to Invest in the EB-5 Offering

50. In reliance on the Offering Documents, the USCIS Approval, and the oral representations



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       described above, each of the Plaintiffs provided $500,000 for a subscription in the

       Project, along with an administrative fee of $45,000.

   51. Each of the Plaintiffs received confirmation that their $500,000 investment and $45,000

       administrative fee had been received.

   52. In providing their money, Plaintiffs relied on representations that Mr. Mart and Palmetto

       Gas Company were established businesses, with many years of experience in operating

       gas stations, and that Mr. Mart specialize in investment-based immigration services.

   53. In providing their money, Plaintiffs relied upon the representation that there was a 100%

       guaranty for the return of their investment and fees in the event their I-526 petition was

       denied.

   54. In providing their money, Plaintiffs relied upon the representation that if their I- 526

       petition was denied, their funds would be immediately returned.

   55. In providing their money, Plaintiffs relied upon the representation that their funds would

       be exclusively invested in the Project to create jobs by helping to expand the retail

       operations at the Projects.

   56. In providing their money, Plaintiffs relied upon the representation that their funds would

       be used exclusively to develop the Project and create at least ten (10) full-time jobs.

   57. In providing their money, Plaintiffs relied upon the representation that their visa would be

       approved in less than 6 months, because Mona Shah indicated that based on her

       “connections” on comities she knows that the Plaintiffs would receive priority over other

       Applicants, due to it being “Shovel Ready” Project.

Plaintiffs’ I-526 Applications are Denied by USCIS

   58. Per Information provided by Mona Shah, Esq., Plaintiffs were approved as accredited



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   investors and subsequently their petitions were accepted by the USCIS.

59. Plaintiffs diligently submitted all necessary paperwork in conjunction with their Form I-

   526 Petitions, asserting eligibility based on an investment in a Regional Center.

60. Plaintiffs’ Form I-526 Petitions were denied by USCIS.

61. Plaintiffs’ Form I-526 Petitions were denied by USCIS for failure to establish by a

   preponderance of the evidence that the Form I-526 Petitions complied with the applicable

   legal requirements.

62. USCIS cited the following specific deficiencies: (1) insufficient number of full-time

   positions created by the project; and (2) multiple deficiencies in the business plan that

   detracted from the Project’s credibility.

63. The deficiencies cited by USCIS were based on actions taken and documents provided by

   Defendants, and over which Plaintiffs had no control.

64. Upon receipt of said denials, Plaintiffs demanded the return of their funds.

65. In response to Plaintiffs’ demands, no funds were returned to Plaintiffs.

66. Instead, Defendants engaged in an ongoing fraud intended to lull Plaintiffs into not

   bringing legal action, reporting the activities to law enforcement, or otherwise seeking to

   protect their interests.

67. Defendants repeatedly advised Plaintiffs and their counsel that they did not have the

   funds available to make the refunds, but would have the necessary funds upon the closing

   of two properties in south Florida.

68. Defendants lulled the Plaintiffs by misrepresenting that Defendants Gutta, Abbas and Ali

   did not do anything inappropriate with Plaintiffs’ money, which had been raised

   truthfully and under the laws of the SEC and EB-5, and it was deployed under those laws.



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69. Defendants lulled the Plaintiffs by misrepresenting that USCIS will approve the I-526

   petitions.

70. Plaintiffs hired legal counsel to investigate the Project and the individuals involved in the

   hopes of securing their refunds. After months of being given nothing but empty promises

   and the runaround by Defendants, Plaintiffs remain damaged and without the refunds

   they are entitled to.

The Fraud is Discovered

71. Upon investigation, Plaintiffs discovered that a seemingly endless laundry list of

   fraudulent representations were perpetrated upon them in furtherance of obtaining and

   stealing their money.

72. The Project was not a legitimate EB-5 project, but rather a façade and vehicle pursuant to

   which a group of conspirators stole over $1,500,000 from Plaintiffs (foreign nationals)

   seeking EB-5 visas and a better life for their families in the United States.

73. Upon information and belief Plaintiffs funds were not used towards the Projects, instead

   the funds were diverted to various other companies, and otherwise pillaged for personal

   expenditures.

74. Virtually none of Plaintiffs’ funds were used at the Project, and no jobs were created.

75. Most of the representations within the Offering Documents were knowingly false or

   misleading.

76. Mr. Mart did not exist as a corporate entity and was not established until September 4th,

   2013, a month after Plaintiffs made commitments to invest in the subject EB-5 projects.

77. Defendants represented that the Projects are wholly owned by Palmetto Gas Company,

   LLC, an existing Florida limited liability company. Palmetto Gas is owned by the Mr.



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   Mart Group (Mr. Mart USA, LLC.) and that Palmetto Gas will serve as the Manager for

   the Projects.

78. Mr. Mart USA was formed on September 4th, 2013

79. Palmetto Gas Company was formed on May 29, 2013

80. Palmetto 511 LLC was formed on August 19th, 2013.

81. Forest Hills was formed on September 3rd, 2013.

82. Upon information and belief the Mr. Mart and PGC were created after the Plaintiffs

   already invested 1.5 million dollars, despite making representations that Mr. Mart and

   PGC were existing entities that owned multiple gas stations and had many years of

   experience in the industry.

83. The representations that there was a 100% guaranty for the return of Plaintiffs’

   investment and fees in the event their I-526 petition was denied were knowingly false.

84. The representations that Plaintiffs would receive their money back upon an official denial

   of their I-526 applications by USCIS were knowingly false.

85. The representations that the funds would be exclusively invested in the Project to create

   jobs by helping to expand and develop the Projects were knowingly false. Virtually none

   of the funds were used at the Project.

86. The representations that the funds would create at least 10 full-time jobs for each

   $500,000 advanced were knowingly false.

87. In sum, the Project was a systemic fraud, based on myriad, intentional, material

   misrepresentations intended to dupe unsuspecting, needy foreign investors.

88. The Project was a necessary façade, used to enable to the fraudulent scheme that bilked

   Plaintiffs, as foreign investors, with the promise of EB-5 visas and security for their



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   investments.

Where Things Stand Now

89. Defendants, and entities they own and/or control, continue to use and enjoy Plaintiffs’

   stolen funds.

90. No Plaintiff has received an EB-5 visa, or an I-526 petition approval.

91. Many of the Defendants continue in their fraudulent conduct, seeking additional victims

   for their EB-5 schemes.

92. Plaintiffs, now unable to enter the United States, are in need of a helping hand.

93. Most investors are of average means and had to spend their entire lifesavings to afford

   this investment.

94. Plaintiffs ask the Court for all necessary and appropriate relief, in law and equity, so that

   they may attempt to recover their stolen funds and begin rebuilding their lives

                                       COUNT I
                                     CONVERSION

95. Plaintiffs reassert and incorporate by reference the allegations in Paragraphs 1 through 94

   above.

96. Defenants’ Abbas, Ali and Gutta caused the transfer of Plaintiffs’ funds into accounts

   other then Palmetto 511 and Forest Hills accounts, including other business accounts and

   personal accounts.

97. Defendants’ Abbas, Ali and Gutta had an obligation to return Plaintiff’s funds, as a result

   of the denial of Plaintiff’s immigration petitions.

98. By virtue of the improper taking and retention of property and payments which belong to

   Plaintiffs, Defendants have, without authorization, asserted dominion and control over

   the funds which are the specifically identifiable property of Plaintiffs and are or were the

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   property of Plaintiffs and which were owned or payable to Plaintiffs.

99. Defendants’ conversion is inconsistent with Plaintiffs’ rights and ownership to said

   property.

100.      The payments and property wrongfully converted by Defendants are specific and

   identifiable.

101.      By virtue of Defendants’ repeated and continued misappropriation and conversion

   of Plaintiffs’ property, they have caused Plaintiffs substantial damage.

102.      By virtue of Defendants’ repeated and continued failure to refund the investment

   capital (Plaintiffs’ property), they have caused Plaintiffs substantial damage.

103.      Plaintiffs have made a demand for the return of their property, but the funds have

   not been returned. Moreover, a demand for the return of Plaintiffs’ funds would be futile.

   Defendants have been confronted with the fact that they stole and converted Plaintiffs’

   property, but have failed to return all of the property to Plaintiffs.

104.      As a result of this conversion, Plaintiffs have suffered damages.

                                    COUNT II
                               BREACH OF CONTRACT

105.      Plaintiffs reassert and incorporate by reference the allegations in Paragraph 1

   through 107 above.

106.      As alleged above, Gutta and Ali signed the Offering Documents and directed

   and/or controlled the Palmetto Project and the Forest Hills Project.

107.      Pursuant to the Offering Documents, the Defendants’ were under an obligation to

   return Plaintiff’s funds in the event their immigration Petition was denied.

108.      Additionally, Defendants’ were under an obligation to use Plaintiffs’ funds

   pursuant to the Offering Documents.

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109.      Gutta and Ali, violated the agreement by holding and using Plaintiffs’ funds.

110.      Gutta and Ali, violated the agreement by failing to refund Plaintiffs’ funds after

   their immigration petitions were denied.

111.      As a result of the breaches of the Parties agreements, Plaintiffs suffered damages.



                                    COUNT III
                            FRAUD IN THE INDUCEMENT

112.      Plaintiffs reassert and incorporate by reference the allegations in Paragraphs 1

   through 111 above.

113.      As specifically described above, Defendants made knowingly false statements

   concerning material facts in the Offering Documents.

114.      Defendants adopted and sold the representations in the Offering Documents when

   selling the Project to Plaintiffs.

115.      Defendants knew that their representations were false, and intended that the

   Plaintiffs rely upon the representations and be induced by them to invest their money into

   the Project.

116.      Plaintiffs relied upon these representations and have been damaged.

                                     COUNT IV
                                UNJUST ENRICHMENT

117.      Plaintiffs reassert and incorporate by reference the allegations in Paragraphs 1

   through 116 above.

118.      As alleged above, Ali, Abbas and Gutta accepted an investment of at least

   $500,000 from each investor in Mr. Mart for investor’s participation in the Projects. Ali,

   Abbas and Gutta caused in turn the Projects to transfer money into accounts under Ali,



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   Abbas, and/or Gutta’s own control. These transfers were not authorized in accordance

   with the Offering Documents. Accordingly, it would be inequitable for Defendants to

   retain the benefits obtained by them as a result of their unlawful actions.

119.      As a result of Defendants’ unlawful actions, Plaintiffs have conferred a benefit on

   Defendants in the form of assets taken from Plaintiffs and given to Defendants or by

   Defendants’ acquisition of assets or real property acquired using funds unlawfully

   obtained from Plaintiffs.

120.      Defendants were aware of the benefits conferred on them by Plaintiffs, and have

   been unjustly enriched by the benefits.

121.      Defendants voluntarily accepted and retained the benefits conferred on them.

122.      For these reasons, Defendants have been unjustly enriched.


                                    COUNT V
                            BREACH OF FIDUCIARY DUTY

123.      Plaintiffs reassert and incorporate by reference the allegations in Paragraph 1

   through 122 above.

124.      Abbas, Ali and Gutta owed a fiduciary duties of care and loyalty to each investor

   of the Projects, by virtue of their roles as principals and/or their control over the

   respective Mr. Mart Projects.

125.      The duty of care owed by Abbas, Ali and Gutta to the investors was to refrain

   from engaging in grossly reckless conduct, intentional misconduct and knowing

   violations of the law.

126.      The duty of loyalty owed by Abbas, Ali and Gutta to the investors included at a

   minimum the duties: 1) to account to the Projects and the investors and hold as trustee for



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   them any property, profit, or benefit derived.

127.      By comingling funds, causing funds to be improperly transferred, diverting funds

   to personal use, failing to use the funds as permitted in the Offering Documents, failing to

   pay rent on property leased to the Palmetto 511 Project, subleasing the property leased by

   Palmetto 511 to Djourhi Investments, LLC., without notifying Plaintiffs, causing

   Palmetto 511 to file for bankruptcy, and failing to notify the Plaintiffs, Ali, Abbas and

   Gutta breached their fiduciary duties of care and loyalty to Plaintiffs.

128.      The acts of Ali, Abbas and Gutta were not in good faith and were not within the

   scope of their authority.

129.      As a result of these breaches of fiduciary duty, Plaintiffs suffered damages.


                                     COUNT VI
                                 CIVIL CONSPIRACY

130.      Plaintiffs reassert and incorporate by reference the allegations in Paragraphs 1

   through 129 above.

131.      Defendants are parties to a conspiracy.

132.      There was an agreement between the Defendants to do an unlawful act or to do a

   lawful act by unlawful means, there were overt acts in furtherance of the conspiracy, and

   Plaintiffs were damaged as a result of acts done under the conspiracy.

133.      As described above, the basis of the conspiracy is a fraud and theft of

   approximately $1,500,000 of Plaintiffs’ money, which are independent torts that give rise

   to causes of action if committed by one person.

134.      Defendants entered into a conspiracy and acted in concert to market a fraudulent

   investment scheme to Plaintiffs, steal their money, and then upon information and belief



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   distribute and dissipate the money among themselves.

135.      Defendants acted with the full knowledge and awareness that the investment

   scheme was designed to fraudulently procure and steal Plaintiffs’ funds under the guise

   of an EB-5 visa investment opportunity.

136.      Defendants acted contrary to law, acted according to a predetermined and

   commonly understood plan of action for the purpose of obtaining Plaintiffs’ funds, and

   took overt acts in furtherance of the conspiracy.

137.      There was a meeting of minds between and among the Defendants to commit the

   unlawful acts alleged herein.

138.      Plaintiffs have suffered damage as a result of the conspiracy.

                                   COUNT VII
                              CONSTRUCTIVE FRAUD

139.      Plaintiffs reassert and incorporate by reference the allegations in Paragraphs 1

   through 138 above.

140.      A duty to Plaintiffs under a confidential or fiduciary relationship has been abused.

141.      An unconscionable or improper advantage has been taken of Plaintiffs.

142.      As specifically described above, a fraudulent scheme was perpetrated upon

   Plaintiffs, based upon knowingly false statements concerning material facts and

   concealment.

143.      Plaintiffs relied upon the knowingly false statements concerning material facts

   and concealment, were induced to provide their investments, and have been damaged.

144.      The fraudulent scheme perpetrated upon Plaintiffs was wrongful, and equitable

   interference is justified under these circumstances.




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                                COUNT VIII
              VIOLATION OF NEW YORK GENERAL BUSINESS LAW §349

145.         Plaintiffs reassert and incorporate by reference the allegations in Paragraphs 1

   through 144 above.

146.         Defendants entered into a conspiracy and acted in concert to market a fraudulent

   investment scheme to Plaintiffs, steal their money, and then upon information and belief

   distribute and dissipate the money among themselves.

147.         Defendants acted with the full knowledge and awareness that the investment

   scheme was designed to fraudulently procure and steal Plaintiffs’ funds under the guise

   of an EB-5 visa investment opportunity.

148.         Specifically, Mart targets investors and potential consumers from all over the

   world to take advantage of their “EB-5 visa investment opportunity.” Upon information

   and belief, Mart’s opportunity is designed to lure unsuspecting foreign nationals into

   investing their well-earned capital into an opportunity which confers no benefit to

   consumers, only benefitting Mart.

149.         Defendants’ actions here have the detrimental effect of lowering foreign

   nationals’ confidence in investing in American business opportunities.

150.         Defendants’ actions were deceptive from the beginning.

151.         Defendants’ actions were calculated to the detriment of Plaintiffs and other

   similarly-situated consumers.

152.         Defendants are liable under §349 for material omissions and misrepresentations

   because they treated Plaintiffs as any customer entering into an investment opportunity,

   furnishing them with standard documents presented to customers upon the agreement to

   invest.

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   153.      As a direct and proximate result of Defendants’ actions, Plaintiffs have been

      damaged.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs pray for judgment as follows:

   (a) An award to Plaintiffs of compensatory, exemplary, punitive and statutory penalties and

      damages, including interest, in an amount to be proven at trial;

   (b) An award of attorneys’ fees and costs, as allowed by law;

   (c) An award of pre-judgment and post-judgment interest, as provided by law;

   (d) Leave to amend this Complaint to conform to the evidence produced at trial; and

   (e) Such other relief as may be appropriate under the circumstances.

                             DEMAND FOR JURY TRIAL

      Plaintiffs demand a trial by jury on all issues so triable.



Dated: New York, New York
       May 26th, 2017

                                                     Respectfully Submitted,


                                                     SHPIGEL & ASSOCIATES, PC


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